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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, *
vs. * CR. NO. 03-20405-Ml
DANA LILLY,
*
Defendant.

ORDER DISMISSING COUNT 2 OF THE INDICTMENT
Upon the H©tion Of the United States, and for good cause
Shown, Count 2 cf the indictme is hereby DISMISSED.

SO ORDERED this ;i day Of-Mey, 2005 am.€@mq is, TenneSSee.

 

H era le Jon Phipps McCalla
U ite States District Judge
W 5 rn District of Tennessee

APPROVED:

MCMQ

§§Seph C. Murphy, Jr. '
Assistant United States Attorney
Western DiStrict Of Tennessee

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Honorable .1 on McCalla
US DISTRICT COURT

